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U.S. Department of Homeland Security
Traveler Redress Inquiry Program (TRIP)
601 South 12th Sireet, TSA-901
Arlington. VA 20598-4901

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Homeland
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November 28, 2014

Mr, Rami Ali Naim

c/o Hassan Abbas, Attorney and Counselor at Law
19 Don Carlos Drive

Hanover Park, IL 60133

United States

Redress Control Number: 2203079
Dear Mr, Rami Naim:

Thank you for submitting your Traveler Inquiry Form and identity documentation to the Department of Homeland
Security (DHS) Traveler Redress Inquiry Program (DHS TRIP). DHS’ mission is to lead the unified national effort
to secure the country, including U.S. border and transportation security. We take requests for redress seriously, and
we understand the inconveniences that additional inspections may cause. DHS strives to process travelers in the mos!
efficient and professional manner possible without compromising our mission to safeguard the United States, its
people and its visitors.

When DHS receives a redress inquiry, we conduct a thorough review of the matter. We consult and share
information with other agencies, when appropriate, to relieve you from the burden of seeking redress on an agency-
by-agency basis and to address the issue that you identified in your application. We have found that about 2% of the
DHS TRIP complainants actually have some connection to the Terrorist Watchlist. Complaints most often arise
either because the traveler’s name and personal information is similar to the name and personal information of
another person in systems which contain information from Federal, state, local and foreign sources or because the
traveler has been delayed in travel for reasons unrelated to such data, such as by random screening,

DHS has researched and completed our review of your case. DHS TRIP can neither confirm nor deny any
information about you which may be within federal watchlists or reveal any law enforcement sensitive information,
However, we have made any corrections to records that our inquiries determined were necessary, including, as
appropriate, notations that my assist in avoiding incidents of misidentification.

For your general information, here is how redress helps you when traveling:

1. When traveling by air to or within the United States, DHS recommends that you provide your redress control
number (located at the top of this letter) when making your reservations. Providing this information will help prevent
misidentifications from occurring during security checks against government records and other information. In most
online reservation systems, your redress contro] number may be entered at the same time you enter your full name
and date of birth.

2. When entering the United States from abroad, no additional action is required. Where appropriate, as a result of
the redress process, DHS employs a procedure to correct the information used to process travelers at the ports of
entry that reduces the chance of misidentifications occurring.
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Despite these positive efforts, we cannot epsure your travel will be delay-free. The redress process does not affect
other standard screening procedures in place at airports and borders. For example, an individual may be selected for
additional screening in order to resolve a walk-through metal detector alarm, because of random selection, or other
reasons. While this process may sometimes be stressful. we rely on the patience, cooperation, and understanding of
travelers in such cases. The aim of these Security measures is to safeguard the people of the United States and
visitors to this Nation.

If you have any further questions, please contact DHS TRIP via e-mail at TRIP@dhs. gov, or write to the address
found in the letterhead.

Sincerely,

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Deborah O. Moore
Director

DHS Traveler Redress Inguiry Program
